                 Case 21-11238-CTG               Doc 389        Filed 05/11/22        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 11

    AGSPRING MISSISSIPPI REGION, LLC,                            Case No. 21-11238 (CTG)
    et al.,1
                                                                 (Jointly Administered)
                             Debtors.
                                                                 Re: Docket No. 364

         CERTIFICATION OF NO OBJECTION REGARDING FIFTH MONTHLY
            APPLICATION FOR COMPENSATION AND REIMBURSEMENT
             OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
         AS CO-COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION
        FOR THE PERIOD FROM JANUARY 1, 2022 THROUGH JANUARY 31, 2022
                           (NO ORDER REQUIRED)

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Fifth Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Co-

Counsel for the Debtors and Debtors in Possession for the Period from January 1, 2022 through

January 31, 2022 (the “Application”) [Docket No. 364] filed on April 19, 2022. The

undersigned further certifies that the Court’s docket in this case has been reviewed and no

answer, objection or other responsive pleading to the Application appears thereon. Pursuant to

the notice of Application, objections to the Application were to be filed and served no later than

May 10, 2022 at 4:00 p.m. prevailing Eastern Time.

                  Pursuant to the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals and (II) Granting Related Relief [Docket No. 112]



1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring Mississippi Region, LLC (9147); Agspring MS 1, LLC (6456); Agspring MS, LLC (2692); Lake
Providence Grain and Rice LLC (1986); and Bayou Grain & Chemical Corporation (7831). The Debtors’ mailing
address is 5101 College Boulevard, Leawood, KS 66211.



DOCS_DE:239198.1 01213/001
                Case 21-11238-CTG         Doc 389     Filed 05/11/22    Page 2 of 3




entered on October 15, 2021, the Debtors are authorized to pay Pachulski Stang Ziehl & Jones

LLP $18,728.00 which represents 80% of the fees ($23,410.00) and $861.73 which represents

100% of the expenses requested in the Application, for the period from January 1, 2022 through

January 31, 2022, upon the filing of this Certification and without the need for entry of a Court

order approving the Application.




                             [Remainder of Page Intentionally Left Blank]




                                                  2
DOCS_DE:239198.1 01213/001
                Case 21-11238-CTG   Doc 389    Filed 05/11/22   Page 3 of 3




Dated: May 11, 2022                    PACHULSKI STANG ZIEHL & JONES LLP

                                        /s/ Mary F. Caloway
                                        Laura Davis Jones (DE Bar No. 2436)
                                        Timothy P. Cairns (Bar No. 4228)
                                        Mary F. Caloway (DE Bar No. 3059)
                                        919 N. Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, DE 19899-8705 (Courier 19801)
                                        Telephone: (302) 652-4100
                                        Facsimile: (302) 652-4400
                                        Email: ljones@pszjlaw.com
                                               tcairns@pszjlaw.com
                                               mcaloway@pszjlaw.com

                                       -and-

                                       DENTONS US LLP
                                       Samuel R. Maizel (admitted pro hac vice)
                                       Tania M. Moyron (admitted pro hac vice)
                                       Malka S. Zeefe (pro hac vice pending)
                                       601 S. Figueroa Street #2500
                                       Los Angeles, CA 90017
                                       Telephone: (213) 623-9300
                                       Email: samuel.maizel@dentons.com
                                              tania.moyron@dentons.com
                                              malka.zeefe@dentons.com

                                       -and-

                                       DENTONS US LLP
                                       David F. Cook (Bar Number 006352)
                                       1900 K Street, NW
                                       Washington, DC 20006
                                       Telephone: (202) 496-7500
                                       Email: david.f.cook@dentons.com

                                       Counsel for Debtors and Debtors in Possession




                                          3
DOCS_DE:239198.1 01213/001
